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                            0UNITED STATES DIST1RICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             Case No. 08-CR-20228

v.                                                            Honorable Thomas L. Ludington

MILIK TURNER,

                  Defendant.
_______________________________________/

     ORDER DENYING DEFENDANT’S REQUEST FOR COMPASSIONATE RELEASE

        On April 30, 2008, Defendant, Milik Turner, was indicted by a grand jury for six counts of

distribution of heroin and one count of possession with intent to distribute cocaine base. ECF No.

1. On June 9, 2009, Defendant pled guilty to one count of distribution of heroine. ECF No. 36. He

was sentenced on September 22, 2009 to incarceration for 188 months, to be served concurrently

with a sentence of imprisonment he was currently serving with the Michigan Department of

Corrections. ECF No. 39. Though Defendant did not file a direct appeal, he filed multiple post

judgment motions. On April 13, 2015, he filed a motion for retroactive application of sentencing

guidelines pursuant to 18 U.S.C. § 3582, which was denied on June 30, 2016. EF Nos. 41, 45. He

also filed a motion to vacate under 28 U.S.C. § 2255 on November 28, 2016. ECF No. 46. The

motion was denied, but he was granted a certificate of appealability and IFP status. ECF Nos. 51,

55, 57. On appeal, this Court was affirmed. ECF Nos. 60, 62.

        On April 1, 2020 Defendant filed a motion to reduce his sentence, which was denied. ECF

Nos. 64, 69. Defendant filed two pro se motions for compassionate release that were denied for

lack of evidence of exhaustion. ECF Nos. 68, 70, 72, 74. On September 28, 2020, Defendant filed

a letter that included his denial letter from the warden. The letter was construed as a renewal of his
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previous motions for compassionate release and was denied with prejudice on October 14, 2020.

ECF No. 77. On October 8, 2020 Defendant mailed another request for compassionate release.

Due to mail delays, it was not docketed until October 30, 2020. ECF No. 78.

       First, Defendant’s request for relief has already been addressed and denied with prejudice.

Second, Defendant does not provide additional information in his newest request for relief.

Therefore, for the reasons articulated in the denial of his motion with prejudice (ECF No. 77), his

latest request will also be denied.

       Accordingly, Defendant’s Request for Compassionate Release, ECF No. 78, is DENIED

WITH PREJUDICE.



Dated: November 6, 2020                                                       s/Thomas L. Ludington
                                                                              THOMAS L. LUDINGTON
                                                                              United States District Judge




                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney of record herein by electronic means and to Milik
                         Turner #42326-039, BECKLEY FEDERAL CORRECTIONAL
                         INSTITUTION, Inmate Mail/Parcels, P.O. BOX 350, BEAVER, WV
                         25813 by first class U.S. mail on November 6, 2020.

                                                          s/Kelly Winslow
                                                          KELLY WINSLOW, Case Manager




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